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                THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MIRIAM FULTZ, ET AL                            :      20-cv-2107
         Plaintiffs                            :
                                               :
             v.                                :      Judge Jones
                                               :
AMERICAN FEDERATION OF                         :
STATE, COUNTY AND MUNICIPAL                    :
EMPLOYEES, COUNCIL13, ET AL                    :
         Defendants                            :

                         MEMORANDUM AND ORDER

                                     July 29, 2021

      Presently pending before the Court is the Motion to Dismiss, (“the Motion”),

filed by Defendant American Federation of State, County, and Municipal

Employees, Council 13, (“the Union”). (Doc. 24).1 The instant claims arose when

Plaintiffs, all public employees of the Commonwealth of Pennsylvania, resigned

their memberships in the Union (“the Union”). (Doc. 18 at ¶¶ 50-51). While,

Plaintiffs allege, the Union does “not consider Plaintiffs [. . .] to be members of

Council 13” at present, it has nevertheless continued to deduct union membership

dues from each Plaintiff’s paycheck. (Id. at ¶¶ 53-54). Plaintiffs now aver that this

conduct is in violation of the Supreme Court’s recent holding that unions cannot


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       The instant motion closely mirrors another filed by Defendants Thomas W. Wolf,
Michael Newsom, and Brian T. Lyman (collectively, “the Commonwealth Defendants”). (Doc.
22). As such, we borrow heavily from our opinion on that motion dated July 21, 2021,
thoroughly considering all aspects of the Union’s arguments herein. (See Doc. 37).

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compel non-member public employees to pay dues or fees to a union as a condition

of employment. (Id. ¶ 2 (citing Janus v. AFSCME, Council 31, 138 S. Ct. 2448,

2486 (2018))). The Union disagrees, arguing that Janus does not apply and asks us

to dismiss Plaintiffs’ Complaint in its entirety. (Doc. 24 at ¶ 6). For the reasons that

follow, we will grant the Motion.

   I.      FACTUAL BACKGROUND

        We take the following from Plaintiffs’ Amended Complaint and assume its

veracity, as we must.

           a. The Parties

        Plaintiffs Miriam Fultz, Darleen Dalto, Lucinda Radaker, Lacey Bainbridge,

Carol Shaner, Jason Kohute, Kurtis Coates, Lisa Southers, Brittany Zappasodi,

Scott Carter, Debra Kerstetter, Ashley Cluck, Blaine Chapman, and Barbara

Richter are all current “public employe[es]” and “Commonwealth employe[es]” as

those terms are defined by 43 P.S. §1101.301(2) and 43 P.S. §1101.301(15). (Doc.

18 at ¶¶ 9-22). Each Plaintiff was, at some point, a dues-paying member of the

Union, but each resigned their respective membership between May 8, 2020 and

December 23, 2020. (Id.). Of note, eight Plaintiffs—Miriam Fultz, Darleen Dalto,

Lacey Bainbridge, Scott Carter, Debra Kerstetter, Ashley Cluck, Blaine Chapman,

and Barbara Richter—joined the Union prior to the Janus decision. (Id. at ¶¶ 9-10,

12, 18-22). Six Plaintiffs—Lucinda Radaker, Carol Shaner, Jason Kohute, Kurtis


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Coates, Lisa Southers, and Brittany Zappasodi—joined the Union after the Janus

decision. (Id. at ¶¶ 11, 13-17).

      The Union is an “Employe organization” and a “Representative,” as those

terms are defined by 43 P.S. §1101.301(3) and 43 P.S. § 1101.301(4). (Id. at ¶ 23).

“Pursuant to collective bargaining agreements, Council 13 represents certain

employees of the Commonwealth of Pennsylvania, including Plaintiffs and

proposed class members, exclusively for purposes of collective bargaining with the

Commonwealth.” (Id.). The Commonwealth is a “Public employer” within the

meaning of 43 P.S. §1101.30(1) and, “[t]hrough its officers and agents [. . .]

negotiated for and entered into the collective bargaining agreement with [the

Union] that governs Plaintiffs’ and proposed class members’ terms and conditions

of employment.” (Id. at ¶ 24).

          b. Statutory Framework

      The Public Employe [sic] Relations Act, (“PERA”), provides that:

      It shall be lawful for public employes [sic] to organize, form, join or
      assist in employe organizations or to engage in lawful concerted
      activities for the purpose of collective bargaining or other mutual
      aid and protection or to bargain collectively through representatives
      of their own free choice and such employes shall also have the right
      to refrain from any or all such activities, except as may be required
      pursuant to a maintenance of membership provision of a collective
      bargaining agreement.

43 Pa. Cons. Stat. § 1101.401 (emphasis added). Specifically, PERA “authorizes

public employers and employee organizations and/or representatives to engage in

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collective bargaining relevant to membership dues deductions.” (Id. at ¶ 47 (citing

43 P.S. §1101.705)). Pursuant to PERA, the Union entered into collective

bargaining agreements, (“the CBA”), with the Commonwealth that “have

controlled the terms and conditions of Plaintiffs’ [. . .] employment at all relevant

times hereto.” (Id. at ¶¶ 44-45).

      PERA defines “membership dues deduction” as “the practice of a public

employer to deduct from the wages of a public employe [sic], with his written

consent, an amount for the payment of his membership dues in an employe [sic]

organization, which deduction is transmitted by the public employer to the

employe [sic]organization.” (Id. at ¶ 46 (quoting 43 P.S. § 1101.301(11))).

Notably, pursuant to the current CBA, any such authorizations “shall remain in

effect until expressly revoked in writing by the employee in accordance with the

terms of the [initial] authorization.” (Doc. 18-1 at 7).

          c. Provisions of the Union Agreement

      As permitted by PERA, Article 4 of the CBA, entitled “Dues Deductions,”

requires the Commonwealth, as an employer, “to deduct dues from the wages of an

employee for Council 13, subject to the terms and conditions of the CBA.” (Id. at ¶




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48). Each Plaintiff’s Council 13 Membership Card contains the terms of those

voluntary dues deduction authorizations. 2

       Those Cards serve as each employee’s application for membership in the

Union and officially authorizes the Commonwealth to make voluntary dues

deductions from their paychecks. (Docs. 24-3—24-16). Specifically, Plaintiffs, by

signing their respective Membership Cards, agreed to: “voluntarily authorize and

direct my Employer to deduct from my pay each pay period, regardless of whether

I am or remain a member of the Union, the amount of dues certified by the Union.”

(Id.). Furthermore, the Cards acknowledged that each Plaintiff agreed that:

       This voluntary authorization and assignment shall be irrevocable,
       regardless of whether I am or remain a member of the Union, for a
       period of one year from the date of execution of this authorization
       or until the termination date of the collective bargaining agreement
       (if there is one) between my Employer and the Union, whichever
       occurs sooner, and for the years to come, unless I give my Employer
       and the Union written notice of revocation during the fifteen (15)
       days before the annual anniversary date of this authorization or, for
       public sector contracts, during the fifteen (15) days before the date
       of termination of the appropriate collective bargaining agreement
       between the Employer and the Union, whichever occurs sooner.




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        Plaintiffs have referred to provisions of the Union membership card in their Amended
Complaint. See, e.g., Doc. 18 at ¶¶ 55-56. As such, we fully consider the terms of those Union
membership cards, even though those provisions may not be explicitly cited by the operative
pleading. See Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006) (“In evaluating
a motion to dismiss, we may consider documents that are attached to or submitted with the
complaint [and] matters incorporated by reference or integral to the claim, items subject to
judicial notice, matters of public record, orders, [and] items appearing in the record of the case”).

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(Id.). In other words, while Plaintiffs are free to resign their Union memberships at

any time, they agreed to be financially responsible for Union membership dues for

a period of one year from the date of signing their Cards. Plaintiffs may relieve

themselves of their dues deductions obligations only by notifying the Union and

the Commonwealth of their desire to do so, in writing, during the fifteen days prior

to the one-year anniversary of their initial Card signing.

          d. Plaintiff’s Alleged Union Resignations

      Each named Plaintiff resigned their respective Union membership between

May 8, 2020 and December 23, 2020. (Doc. 18 at ¶¶ 9-22). They did so by

providing notice to both the Union and Commonwealth. (Id. at ¶ 52). Plaintiffs

aver that Defendants “do not consider Plaintiffs and proposed class members to be

members” of the Union at this time. (Id. at ¶ 53). Nevertheless, Plaintiffs maintain,

Defendants “refused to stop deducting dues from Plaintiffs’ and proposed class

members’ wages for Council 13 as of the date of [each] membership resignation”

from the Union. (Id. at ¶ 54). Instead, Plaintiffs claim, they have been informed

that “they must continue dues deductions to and financial support of Council 13

indefinitely, at least until a purported annual 15-day escape window.” (Id. at 55).

As such, Plaintiffs will be required to “re-notify” both the Union and the

Commonwealth “of their desire to end financial support of Council 13 within the




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purported annual 15-day escape window in order to have the Commonwealth cease

deducting financial support for Council 13 [from Plaintiffs’ wages].” (Id.at ¶ 56).

   II.      PROCEDURAL HISTORY

         Plaintiffs commenced this action on November 12, 2020. (Doc. 1). Upon

request of the parties, we stayed proceedings in this case on January 12, 2021

pending the Third Circuit’s resolution of Smith v. New Jersey Education

Association and Fisher v. Governor of New Jersey. (Doc. 13). After the Third

Circuit issued a non-precedential combined opinion in these matters, the parties

filed a joint status report indicating that Plaintiffs wished to file an amended

complaint reflecting the Third Circuit’s findings. (Doc. 16). See also Fischer v.

Governor of New Jersey, 842 F. App'x 741, 744 (3d Cir. 2021). We granted

Plaintiffs’ request, and an Amended Complaint was filed on March 1, 2021. (Docs.

17; 18). Plaintiffs’ new complaint alleged the following: violation of First

Amendment rights (Count I) and violation of procedural due process (Count II).

         The Union filed a motion to dismiss all counts on April 5, 2021. (Doc. 24).

They filed a brief in support simultaneously. (Doc. 25). Plaintiffs filed a brief in

opposition on May 3, 2021. (Doc. 32). The Union replied on May 17, 2021. (Doc.

35). The matter is thus ripe for review.




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   III.    STANDARD OF REVIEW

      In considering a motion to dismiss pursuant to Rule 12(b)(6), courts “accept

all factual allegations as true, construe the complaint in the light most favorable to

the plaintiff, and determine whether, under any reasonable reading of the

complaint, the plaintiff may be entitled to relief.” Phillips v. Cty. of Allegheny, 515

F.3d 224, 231 (3d Cir. 2008) (quoting Pinker v. Roche Holdings, Ltd., 292 F.3d

361, 374 n.7 (3d Cir. 2002)). In resolving a motion to dismiss pursuant to Rule

12(b)(6), a court generally should consider only the allegations in the complaint, as

well as “documents that are attached to or submitted with the complaint, . . . and

any matters incorporated by reference or integral to the claim, items subject to

judicial notice, matters of public record, orders, [and] items appearing in the record

of the case.” Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006).

      A Rule 12(b)(6) motion tests the sufficiency of the complaint against the

pleading requirement of Rule 8(a). Rule 8(a)(2) requires that a complaint contain a

short and plain statement of the claim showing that the pleader is entitled to relief,

“in order to give the defendant fair notice of what the claim is and the grounds

upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). While a complaint attacked

by Rule 12(b)(6) motion to dismiss need not contain detailed factual allegations, it

must contain “sufficient factual matter, accepted as true, to ‘state a claim to relief


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that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To

survive a motion to dismiss, a civil plaintiff must allege facts that “raise a right to

relief above the speculative level….” Victaulic Co. v. Tieman, 499 F.3d 227, 235

(3d Cir. 2007) (quoting Twombly, 550 U.S. at 555). Accordingly, to satisfy the

plausibility standard, the complaint must indicate that defendant’s liability is more

than “a sheer possibility.” Iqbal, 556 U.S. at 678. “Where a complaint pleads

facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the

line between possibility and plausibility of entitlement to relief.’” Id. (quoting

Twombly, 550 U.S. at 557).

      Under the two-pronged approach articulated in Twombly and later

formalized in Iqbal, a district court must first identify all factual allegations that

constitute nothing more than “legal conclusions” or “naked assertions.” Twombly,

550 U.S. at 555, 557. Such allegations are “not entitled to the assumption of truth”

and must be disregarded for purposes of resolving a 12(b)(6) motion to dismiss.

Iqbal, 556 U.S. at 679. Next, the district court must identify “the ‘nub’ of the …

complaint – the well-pleaded, nonconclusory factual allegation[s].” Id. Taking

these allegations as true, the district judge must then determine whether the

complaint states a plausible claim for relief. See id.

      However, “a complaint may not be dismissed merely because it appears

unlikely that the plaintiff can prove those facts or will ultimately prevail on the


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merits.” Phillips, 515 F.3d at 231 (citing Twombly, 550 U.S. at 556-57). Rule 8

“does not impose a probability requirement at the pleading stage, but instead

simply calls for enough facts to raise a reasonable expectation that discovery will

reveal evidence of the necessary element.” Id. at 234.

   IV.     DISCUSSION

      The Union makes four arguments in favor of dismissal: (1) enforcing a

contractual commitment to pay union dues does not violate the Constitution; (2)

Plaintiffs have failed to allege the deprivation of a sufficient liberty interest

protected by the Fourteenth Amendment; (3) the process by which Plaintiffs were

assessed union dues were not defective; and (4) Plaintiffs have failed to allege that

the Union was acting under color of state law. (Doc. 25). In response, Plaintiffs

alleged that Janus protects their right to avoid paying monies to the Union, and,

even if it does not, the Membership Cards by which they joined the Union

constitute unenforceable contracts. (See Doc. 32). Furthermore, Plaintiffs allege

that they were not provided “readily ascertainable” procedures by which to cease

payments to the Union in violation of their due process rights. (Id.). We begin by

considering the applicability of Janus to the present set of facts.

           a. Applicability of Janus

      In 2018, the Supreme Court held that “[n]either an agency fee nor any other

payment to the union may be deducted from a nonmember’s wages, nor may any


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other attempt be made to collect such a payment, unless the employee affirmatively

consents to pay. By agreeing to pay, nonmembers are waiving their First

Amendment rights, and such a waiver cannot be presumed.” Janus v. Am. Fed'n of

State, Cty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2486, 201 L. Ed. 2d 924

(2018).

      Here, Plaintiffs argue that Janus applies to their own plight as nonmembers

of the Union who are “forced to pay Council 13 nonmember dues.” (Doc. 32 at 8-

9). In support thereof, they note that the Membership Card “requires a potential

member to ‘voluntarily authorize and direct [their] Employer to deduct from [their]

pay each pay period, regardless of whether [they are] or remain a member of the

Union, the amount of dues certified by the Union . . . .’ Therefore, Council 13

asked Plaintiffs to agree to pay money to the union as nonmembers.” (Id. at 10-11).

This, they argue, is in direct contravention of Janus, which prohibits compulsory

union agency fees. (Id. (citing 138 S. Ct. at 2486)).

      The Union disagrees, maintaining that Janus is not applicable to the instant

case. (Doc. 25 at 12-13). In support thereof, they note that “Plaintiffs chose to join

the union and pay dues pursuant to the terms of a written membership agreement in

exchange for receiving membership rights and benefits,” which “speak[s] to a

contractual obligation, not a First Amendment violation.” (Id. at 17-18) (internal

citations omitted).


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      In sum, the Union maintains that Janus does not apply when an employee

has voluntarily signed a contract to join a Union, noting that “Janus does not

abrogate or supersede Plaintiffs’ contractual obligations, which arise out of

longstanding, common-law principles of general applicability.” (Doc. 25 at 13)

(citing Fischer v. Governor of New Jersey, 842 F. App'x 741, 744 (3d Cir. 2021).

      This argument has recently received approval from the Third Circuit. In

Fischer v. Governor of New Jersey, members of a New Jersey teacher’s union

argued that the waiting periods set forth in state statues and in their union

membership agreements were unconstitutional under Janus, as they allowed

Plaintiff’s to disassociate from the union, but still required payment of dues as non-

members for a set period of time. Fischer, 842 F. App'x at 744. As the Third

Circuit noted, “[c]hanges in decisional law, even constitutional law, do not relieve

parties from their pre-existing contractual obligations.” Fischer, 842 F. App'x at

752 (internal citations omitted). “Put succinctly, ‘a party cannot avoid its

independent contractual obligations simply because a change in the law confers

upon it a benefit’ after the agreement is signed.” Id. (citing Ehrheart v. Verizon

Wireless, 609 F.3d 590, 596 (3d. Cir. 2010)). Rather,

      [b]y binding oneself [to an agreement,] one assumes the risk of
      future changes in circumstances in light of which one's bargain
      may prove to have been a bad one. That is the risk inherent in all
      contracts; they limit the parties’ ability to take advantage of what
      may happen over the period in which the contract is in effect.


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Id. at 752 (citing McKeever v. Warden SCI-Graterford, 486 F.3d 81, 89 (3d. Cir.

2007) (quoting United States v. Bownes, 405 F.3d 634, 636 (7th Cir. 2005)). Even

in the First Amendment context, the common law of contracts applies as a “law of

general applicability.” Id. at 753. Indeed, this opinion aligns with a “swelling

chorus of courts” that has recognized that “‘Janus does not extend a First

Amendment right to avoid paying union dues’ when those duties arise out of a

contractual commitment that was signed before Janus was decided.” Id. (citing

Belgau v. Inslee, 975 F.3d 940, 944–45 (9th Cir. 2020) (collecting cases)).

       We consequently find that Plaintiffs may not avoid their contractual

obligations, for which they received valuable consideration, based upon subsequent

changes in contractual law.3 Janus does not provide a basis for challenging their


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        True, several Plaintiffs joined the Union after Janus was decided. (Doc. 18 at ¶¶ 13-15;
17). Plaintiffs argue that for these Plaintiffs “at the time of signing it was already established that
a constitutional waiver was required to authorize nonmember deductions” and so asks us not to
dismiss Plaintiffs’ “clearly established” right to action. (Doc. 32 at 15-16). But Plaintiffs point to
no case law indicating that Janus has imposed an affirmative obligation upon employers to
inform employees of the Janus decision—indeed, Janus only explicitly requires that “the
employee affirmatively consents to pay” any union fees. Janus, 138 S. Ct. at 2486. On this front,
Janus merely indicates that such a “waiver must be freely given and shown by ‘clear and
compelling’ evidence. Id. We note that the language in the Membership Cards indicates that
authorization of dues deductions is “voluntary” and shall occur “regardless of whether [Plaintiffs
are] or remain [members] of the union for a period of one year from the date of execution of this
authorization [. . .] unless [Plaintiffs] give [. . .] the Union written notice of revocation during the
fifteen (15) days before the annual anniversary date of this authorization.” (Doc. 24-4).
Furthermore, Plaintiffs acknowledged that they “understand that [union dues deduction
authorization] is not required as a condition of membership in any organization, or as a condition
of continued employment, and is free of reprisal.” (Id.). We believe that the execution of such
Membership Cards, which clearly indicate that Plaintiffs are not required to join the Union as a
condition of employment, and promise that there will be no reprisals for refusing dues
deductions, constitutes such affirmative consent by clear and convincing evidence.
Consequently, we find, absent further guidance from the Supreme Court or the Third Circuit, that

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union membership agreements, nor the dues paid pursuant to that agreement. We

next consider whether Plaintiffs have stated a claim under traditional contract law.

           b. Enforceability of Union Membership Contracts

       Even assuming the inapplicability of Janus, Plaintiffs argue that dismissal is

still not appropriate because we cannot yet determine whether the Membership

Cards constitute enforceable contracts. (Doc. 32 at 12). We construe three

arguments in favor of this proposition: 4 (1) “valuable consideration may not be

present in the purported membership card contracts” because “most” Plaintiffs

were already members of the Union before they signed their membership cards; (2)

the membership cards lack “plain terms” that are central to the contract, such as an

ambiguity concerning the “annual anniversary date” of each Membership Card;

and (3) the Union “could be found to have materially breached the contract by

failing to perform.” (Doc. 32 at 13-15).

       To evaluate these arguments, we look to Plaintiffs’ Amended Complaint, as

we must. While Plaintiffs ground these arguments in contract law, they are meant

to illustrate that the Union is not entitled to dismissal of Plaintiffs’ §1983 claim


the language of the Membership Cards constitutes “clear and convincing” evidence of an
effective waiver, as is required by Janus.
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        In addition, Plaintiffs argue that Fischer does not mandate dismissal as it only addresses
contracts signed before the Janus decision. As we previously discussed, we find that Plaintiffs
voluntarily contracted to pay Union dues, and Plaintiffs have presented no case law which
indicates that such contractual obligations can be thrown over.


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because the contracts may be unenforceable and, consequently, may not insulate

their allegedly unconstitutional dues deductions by sufficient waiver of First

Amendment rights. But we see no factual allegations whatsoever that would

support these contractually based arguments.

       In their Amended Complaint, Plaintiffs do not allege that their execution of

the Membership Cards was not supported by adequate consideration.5 They also do

not allege that the term “annual anniversary date” is ambiguous. Instead, Plaintiffs

focus exclusively on the alleged unconstitutionality of these actions. While these

two concepts are admittedly connected in this case, we cannot conjure allegations

of an unenforceable contract from thin air to support Plaintiffs’ §1983 claims.

Plaintiffs raise these arguments for the first time in their opposition brief, and it

thus not appropriate for us to consider any new factual allegations now.

       Only their allegation of a material contract breach finds root in Plaintiffs’

Amended Complaint. They alleged that dues deductions have been deducted after

their resignation from the Union (in line with the requirement to pay dues until the



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        We cannot imply that Plaintiffs have alleged a lack of consideration based upon their
argument that “most” Plaintiffs were already Union members when they signed their
Membership Cards—we can take as true only that which is properly alleged in the complaint.
(Doc. 32 at 13). For example, Plaintiffs allege that Miriam Fultz resigned her Union membership
“on or about June 29, 2020.” (Doc. 18 at ¶ 9). But we see no allegation as to when she joined the
Union or when she signed her Membership Card, should those be two separate dates. To be sure,
we can consider her Membership Card itself to determine the date of execution, but we have no
allegation whatsoever that Plaintiff Fultz was already a member of the Union before that date.
The same can be said for the allegations of other named Plaintiffs.

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15-day escape window), but that “they are not entitled to union member rights and

benefits as of the date of their resignation.” (Doc. 18 at ¶ 56-57). They argue that

being forced to pay dues without receiving the rights and benefits of union

membership constitutes “altering the terms of the contract” and “could be found”

to be a material breach.” (Doc. 32 at 15). But this argument still fails to state a

claim for relief for two reasons. First, Plaintiffs do not allege that the failure to

provide benefits while still collecting dues actually violated the membership

contracts. Instead, we fail to see an alleged connection between these facts and any

of Plaintiffs’ legal claims. We cannot write into existence an allegation that the

Union’s actions violate the bargained-for contract, and we will not do so now.

      Second, the explicit language of the Membership Cards contradicts

Plaintiffs’ argument. We are only required to take as true those allegations which

are plausible on their face. These are not. The Membership Cards explicitly state

that the dues deduction authorization is completely voluntary, but, once agreed to,

“shall be irrevocable, regardless of whether [Plaintiff is] or remain[s] a member of

the Union, for a period of one year from the date of [. . .] authorization.” (Doc. 24-

4). This language, on its face, indicates that Plaintiffs may cut all ties to the Union

and its membership, but will still be required to pay the authorized dues for a

period of one year from the date of their execution of the Membership Cards.




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Plaintiff’s novel argument that such action constitutes a material breach is thus a

nonsensical one.

      Consequently, we find that Plaintiffs have failed to state a claim for which

relief may be granted grounded in an allegedly unenforceable contract. And

because Plaintiffs have failed to allege that the Membership Cards are not

enforceable, we will hold them to the terms to which they duly agreed.

          c. Procedural Due Process

      Finally, Plaintiffs argue that they “have alleged due process violations both

in the ways their resignations were handled, and in their lack of options for ceasing

the forced financial support” of the Union. (Doc. 32 at 16). We construe the

statement as alleging due process violations both in the handling of Plaintiffs’ dues

deductions authorizations and in the Union’s use of said dues for “‘any purpose,’

including ideological or political speech with which Plaintiffs may disagree.”

(Doc. 32 at 18).

      To prove a violation of procedural due process rights, a plaintiff must show

that “(1) [D]efendants deprived him of an individual liberty interest that is

encompassed within the Fourteenth Amendment's protection, and (2) the

procedures Defendants made available to him did not provide due process of

law.” Steele v. Cicchi, 855 F.3d 494, 507 (3d Cir. 2017) (citing Hill v. Borough of

Kutztown, 455 F.3d 225, 233–34 (3d Cir. 2006)). As the Union concedes, the


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“liberty interest” alleged in Plaintiffs’ Amended Complaint is the right “not to

subsidize the speech and activities of Council 13.” (Doc. 25 at 19) (citing Doc. 18

at ¶¶ 89; 94-95). But they argue that this right is not protected by the Fourteenth

Amendment “[b]ecause the union dues at issue in [Plaintiffs’ procedural due

process claim] were payments owed under a voluntary contract [and,

consequently,] Plaintiffs have suffered no deprivation of an individual interest.”

(Doc. 25 at 20). We agree.

      The Third Circuit has recently approved of such an argument, finding that

“affirmative consent” to join a union “effectively waiv[es the] right not to support

the Union.” Oliver v. Serv. Emps. Int'l Union Loc. 668, 830 F. App'x 76, 79 n.3 (3d

Cir. 2020). See also Molina v. Pennsylvania Soc. Serv. Union, Serv. Emps. Int'l,

No. 1:19-CV-00019, 2020 WL 2306650, at *11 (M.D. Pa. May 8, 2020)

(“[Plaintiffs] was not deprived of an individual liberty interest. His union dues

were deducted from his paycheck to satisfy his contractual obligation to

the union and did not violate his First Amendment rights.”). We have similarly

found that Plaintiffs’ the Membership Cards do not run afoul of Plaintiff’s First

Amendment rights, and consequently cannot find that they have alleged a




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sufficient liberty interest to support their procedural due process claim. We thus

need not consider whether the procedures provided to Plaintiffs were adequate.6

    V.      CONCLUSION

         We recognize the great impact of Janus on labor relations in this county. To

be sure, that case has drastically altered the ability of unions to collect

contributions from public employees. But Janus does not stretch as far as Plaintiffs

would have us believe, nor will we push its boundaries unnecessarily, especially in

light of the Third Circuit’s recent holding in Fischer.

         Plaintiffs undoubtedly signed their Membership Cards, which clearly laid

out the terms of their membership and their union dues responsibilities. Subsequent

changes in law cannot forestall Plaintiffs’ previous contractual obligations, nor do

we see any indication in Janus or subsequent case law that a full explanation of the

voluntary nature of Union membership and dues payment does not satisfy the First

Amendment’s protections. We cannot impose additional requirements upon the

Union that are not supported in the law, and consequently do not find that Janus’s

protections extend to our Plaintiffs.


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        We note that this outcome differs significantly from the related opinion recently filed in
this case. (See Doc. 37). In that opinion, the Defendants (all officials of the Commonwealth of
Pennsylvania) did not contest that Plaintiffs had adequately articulated a sufficient liberty
interest. (Doc. 23 at 18) (Commonwealth “set[ ] aside whether electing to contribute dues can be
described as a deprivation” and instead focused upon whether Plaintiffs had adequately alleged
that the process provided to them was deficient). Consequently, we did not previously consider
whether Plaintiffs’ alleged liberty interest could survive a Rule 12(b)(6) motion. We do so now
for the first time and find that it cannot.

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NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

  1.   The Union’s Motion to Dismiss, (Doc. 24), is GRANTED.




                                               s/John E. Jones III
                                               John E. Jones III, Chief Judge
                                               United States District Court
                                               Middle District of Pennsylvania




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